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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

                                                       )
    CHRISTOPHER ZOIDIS, et al.,                        )
                                                       )
                                     Plaintiffs,       )   Civil Action No. GLR-16-2786
                                                       )
                 v.                                    )
                                                       )
    T. ROWE PRICE ASSOCIATES, INC.,                    )
                                                       )
                                                       )
                                     Defendant.        )
                                                       )

                      JOINT STATUS REPORT AND DISCOVERY PLAN

         Pursuant to Fed. R. Civ. P. 26(f)(3), and in light of the above-captioned matter being

reassigned to Judge George Levi Russell, III, Plaintiffs Christopher Zoidis, Howard Gurwin, Kevin

M. Heckman, Jacqueline Peiffer, Charles L. Sommer, Barbara L. Sommer, Donald W. Broton, Jr.,

Arturo Molina, Jr., (together, “Plaintiffs”) and Defendant T. Rowe Price Associates, Inc. (“T.

Rowe Price,” and together with Plaintiffs, the “Parties”) hereby submit the following Joint Status

Report and Discovery Plan, which supplements the Parties’ prior joint status reports dated July 19,

2017 (ECF No. 106) and September 18, 2017 (ECF No. 107).

         1.     Statement of the Case

         Plaintiffs brought the above-captioned action on behalf of seven mutual funds1 (the

“Sponsored Funds”) alleging that T. Rowe Price violated its “fiduciary duty with respect to the


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  The seven funds are: (i) T. Rowe Price Blue Chip Growth Fund; (ii) T. Rowe Price Capital
Appreciation Fund; (iii) T. Rowe Price Equity Income Fund; (iv) T. Rowe Price Growth Stock
Fund; (v) T. Rowe Price International Stock Fund; (vi) T. Rowe Price High Yield Fund; and (vii) T.
Rowe Price New Income Fund. On March 1, 2018, Plaintiff Virginia A. Durand Revocable Trust
was voluntarily dismissed from this action. Order Approving Stipulation of Dismissal (ECF No.
124). Accordingly, an eighth fund in which the Durand Trust was the only plaintiff-investor, the
T. Rowe Price Small Cap Stock Fund, is no longer at issue in this case. See First Amended Compl.
¶ 21 (ECF No. 112).


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receipt of compensation” under Section 36(b) of the Investment Company Act of 1940 by

receiving excessive advisory fees from the Funds. Plaintiffs further allege that the services

provided by T. Rowe Price to its Sponsored Funds are substantially the same as those it provides

to the twenty-seven (27) externally sponsored sub-advised funds referenced in the Complaint (the

“Sub-advised Funds”). Plaintiffs seek, inter alia, to recover for the Sponsored Funds any allegedly

excessive compensation that T. Rowe Price received. Defendant’s position is: (i) the advisory fees

were not excessive; and (ii) as a threshold matter, services provided by Defendant to the Sponsored

Funds are not substantially the same as those it provides to the Sub-advised Funds, and indeed

involve many additional services not provided to the Sub-advised Funds.

       2.      Subject Matter Jurisdiction

       This case arises under the Investment Company Act of 1940, 15 U.S.C. § 80a-35(b), and

the Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331. On April 26, 2017, the

case was referred to the Honorable J. Mark Coulson, United States Magistrate Judge for the District

of Maryland, pursuant to 28 U.S.C. § 636 and Local Rules 301 and 302 of the United States Court

for the District of Maryland. (ECF No. 93).

       3.      Procedural Background: Phased Discovery

       During the Parties’ telephonic conference with Judge Garbis on April 26, 2017, T. Rowe

Price proposed the use of phased discovery, beginning with the dispositive threshold question of

whether T. Rowe Price provided the same or substantially the same services to the Sponsored

Funds as it did the Sub-advised Funds. After hearing argument from the Parties, Judge Garbis

issued a letter ruling calling for phased discovery, whereby Phase I would be focused on the

reasonableness of Plaintiffs’ comparison of the fees charged to the Sponsored Funds and the

allegedly comparable Sub-advised Funds. Apr. 26, 2017 Order at 1 (ECF No. 94).




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       On April 27, 2017, the Court entered an Initial Scheduling Order, permitting the Parties to

“commence discovery focused upon differences between the services rendered by T. Rowe Price

Associates, Inc. to the affiliated funds on behalf of which the instant case has been brought . . . and

the [27] unaffiliated “sub-advised” funds that Plaintiffs allege are comparable.” Apr. 27, 2017

Initial Scheduling Order (ECF No. 95). Judge Garbis further ruled that “[t]he extent to which there

would be further discovery regarding such matters as costs and profitability will be determined in

due course.” Id.; see also Apr. 27, 2017 Order (ECF No. 94).

       On October 10, 2017, Plaintiffs requested that the Court revisit the use of phased discovery

in light of the summary judgment ruling in a Section 36(b) action pending in the Central District

of California, Kennis v. Metropolitan West Asset Management, LLC, No. CV-15-8162. Oct. 10,

2017 Correspondence (ECF No. 113). T. Rowe Price opposed. See Oct. 11, 2017 Response in

Opposition (ECF No. 114). Three days later, on October 13, 2017, the Court reaffirmed the use

of phased discovery and ordered that it “will not disturb the phased discovery plan set forth” in its

prior order. Oct. 13, 2017 Order (ECF No. 115).

       4.      Document Production

       The Parties’ Stipulation Regarding Discovery of Electronically Stored Information (the

“ESI Agreement”) was filed on June 27, 2017 (ECF No. 103) and approved by the Court on June

28, 2017. (ECF No. 104). While the Parties negotiated the custodians and search terms to be used

for Electronically Stored Information (“ESI”), Defendant began making rolling productions of

certain discrete requests from Plaintiffs’ First Set of Requests for Production. Defendant made its

first document production on July 7, 2017. Defendant made a total of eleven (11) productions in

response to Plaintiffs’ discrete document requests, totaling 2,237 documents and 107,628 pages,

from July 7, 2017 through December 8, 2017.




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        The Parties reached a final agreement on ESI search terms and custodians on February 23,

2018. Defendant made its first ESI production on June 11, 2018. Defendant has made four ESI

productions, totaling 69,018 documents and 474,073 pages, from June 11, 2018 to the present.

Defendant anticipates substantially completing document production on or about September 14,

2018.

        5.     Proposed Phase I Discovery Schedule

        The Court’s May 22, 2017 discovery order did not specify deadlines for the completion of

Phase I document, fact, or expert discovery. The Parties propose entering the following schedule

for the completion of Phase I document, fact, and expert discovery:

        Date                     Event
        September 14, 2018       Substantial completion of Phase I document discovery
        March 22, 2019           Phase I fact discovery complete
        May 6, 2019              Parties serve expert reports
        June 5, 2019             Parties serve rebuttal expert reports
        July 8 , 2019            Phase I expert discovery complete
        August 9, 2019           Dispositive motions filed on Phase I issues


Dated: August 29, 2018

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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 29, 2018 I caused a true and correct copy of the foregoing

document to be served upon all counsel of record via the ECF system, and emailed a copy of the

same to MDD_JMCCHAMBERS@mdd.uscourts.gov.

                                                           /s/ Robert A. Skinner
                                                           Robert A. Skinner

	




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